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                 THIS PRE-TRIAL NOTICE CONTAINS NEW
                    MATERIAL REVISED JULY, 2019

                   UNITED STATES DISTRICT COURT

                   EASTERN DISTRICT OF LOUISIANA


                           PRE-TRIAL NOTICE

    IT IS ORDERED that a pre-trial conference will be held in
Chambers before Judge Greg Gerard Guidry, Section T, in this case
on the date and time indicated on the attached scheduling order.

    The purpose of the pre-trial conference is to secure a just
and speedy determination of the issues. If the type of pre- trial
order set forth below does not appear calculated to achieve these
ends in this case, please arrange a conference with the Judge and
opposing counsel immediately so that alternative possibilities may
be discussed.

    The procedure necessary for the preparation of the proposed
pre-trial order that will be reviewed at the pre-trial conference
is as follows:


                                   I.

    The proposed pre-trial order must be electronically filed with
the Court by 4:30 p.m. on a day that allows two full work days
prior to the conference, excluding Saturdays, Sundays, and holidays
(i.e., if the conference is set for 8:30 a.m. Friday, it must be
filed by 4:30 p.m. Tuesday; if the conference is set on Monday,
the pre-trial order must be filed by 4:30 p.m. Wednesday). The
pre- trial order need not be delivered to Chambers on paper.
The proposed pre-trial order shall bear electronic signatures of
all counsel at the time it is electronically filed with the Court.
Following the pre-trial conference, the Court will issue a minute
entry which, inter alia, will APPROVE and ADOPT the pre-trial
order, either in its entirety or with specified modifications.


                                  II.

    Counsel for all parties shall confer in person (face to face)
or by telephone at their earliest convenience for the purpose of
arriving at all possible stipulations and for the exchange of
copies of documents that will be offered in evidence at the trial.
                                                                     EXHIBIT

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It shall be the duty of counsel for plaintiff to initiate this
conference, and the duty of other counsel to respond. If, after
reasonable effort, any party cannot obtain the cooperation of other
counsel, it shall be that party’s duty to communicate immediately
with the Court. The conference of counsel shall be held at least
ten days prior to the date of the scheduled pre-trial conference
in order that counsel for all parties can furnish each other with
a statement of the real issues each party will offer evidence to
support, eliminating any issues that might appear in the pleadings
about which there is no real controversy, and including in such
statement issues of law as well as ultimate issues of fact from
the standpoint of each party. Counsel for plaintiff then will
prepare a proposed pre-trial order and submit it to opposing
counsel. Once any necessary changes are made, counsel for
plaintiff shall electronically file the final proposed pre-trial
order with the Court.

                                  III.

           At their meeting, counsel must consider the following:

     A.   Jurisdiction. Because jurisdiction may not ever be
conferred by consent and because prescription or statutes of
limitations may bar a new action if the case or any ancillary
demand is dismissed for lack of jurisdiction, counsel should make
reasonable effort to ascertain that the Court has jurisdiction.

     B.   Parties. Correctness of identity of legal entities;
necessity for appointment of tutor, guardian, administrator,
executor, etc., and validity of appointment if already made;
correctness of designation of party as partnership, corporation or
individual d/b/a trade name.

     C.    Joinder.   Questions   of     misjoinder   or   non-joinder    of
parties.


                                  IV.

    At   the   pre-trial  conference   counsel   must  be  fully
authorized and prepared to discuss settlement possibilities with
the Court. Counsel are urged to discuss the possibility of
settlement with each other thoroughly before undertaking the
extensive labor of preparing the proposed pre-trial order.

                                   V.

    The pre-trial conference must be attended by the

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attorneys who will try the case, unless prior to the conference
the Court grants permission for other counsel to attend.
These attorneys will familiarize themselves with the pre-trial
rules, and will come to the conference with full authority to
accomplish the purposes of Rule 16 of the Federal Rules of Civil
Procedure.


                                  VI.

    Pre-trial conferences will not be continued except for good
cause shown in a written motion presented sufficiently in advance
of the conference for opposing counsel to be notified.

                                  VII.

    Failure on the part of counsel to appear at the conference may
result in sanctions, including, but not limited to, sua sponte
dismissal of the suit, assessment of costs and attorney fees,
default, or other appropriate sanctions.

                                 VIII.

    All pending motions and all special issues or defenses raised
in the pleadings must be called to the court's attention in the
proposed pre-trial order.

                                  IX.

    The proposed pre-trial order shall set forth the following
information:

    1.   The date of the pre-trial conference.

    2.   The appearance of counsel identifying the party(s)
         represented.

    3.   A description of the parties, and in cases of insurance
         carriers, their insured must be identified. The legal
         relationships of all parties with reference to the claims,
         counterclaims, third-party claims, cross claims, etc.

    4.   a.     With respect to jurisdiction, a brief summary of the
                factual basis supporting each claim asserted,
                whether original claim, counterclaim, third-party
                claim, etc., and the legal and jurisdictional basis
                for each such claim, or if contested, the
                jurisdictional questions;
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         b.    In diversity damage suits, there is authority for
               dismissing the action, either before or after trial,
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             where it appears that the damages reasonably could
             not come within the jurisdictional limitation.
             Therefore, the proposed pre-trial order in such cases
             shall contain either a stipulation that $75,000 is
             involved or a summary of the evidence supporting the
             claim that such sum reasonably could be awarded.

5.     A list and description of any motions pending or contem-
       plated and any special issues appropriate for determina-
       tion in advance of trial on the merits. If the Court at
       any prior hearing has indicated that it would decide
       certain matters at the time of the pre-trial conference,
       a brief summary of those matters and the position of each
       party with respect thereto should be included in the
       proposed pre-trial order.

6.     A brief summary of the material facts claimed by:

       a.   Plaintiff;

       b.   Defendant;and

       c.   Other parties.

7.     A single listing of all uncontested material facts.

8.     A single listing of the contested issues of fact. (This
       does not mean that counsel must concur in a statement of
       the issues; it simply means that they must list in a
       single list all issues of fact.) Where applicable,
       particularities concerning the following fact issues
       shall be set forth:

       a.   Whenever there is in issue the seaworthiness of a
            vessel or an alleged unsafe condition of property,
            the material facts and circumstances relied upon to
            establish the claimed unseaworthy or unsafe condi-
            tion shall be specified with particularity;

       b.   Whenever there is in issue negligence of the defen-
            dant or contributory or comparative negligence of
            the plaintiff, the material facts and circumstances
            relied upon to establish the claimed negligence
            shall be specified with particularity;

       c.   Whenever personal injuries are at issue, the nature
            and extent of the injuries and of any alleged
            disability shall be specified with particularity;


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       d.   Whenever the alleged breach of a contractual obli-
            gation is in issue, the act or omissions relied
            upon as constituting the claimed breach shall be
            specified with particularity;

       e.   Whenever the meaning of a contract or other writing
            is in issue, all facts and circumstances surrounding
            execution and subsequent to execution, both those
            admitted and those in issue, which each party contends
            serve to aid interpretation, shall be specified with
            particularity;

        f. Whenever duress or fraud or mistake is in issue,
           and set forth in the pleadings, the facts and
           circumstances relied upon as constituting the claimed
           duress or fraud or mistake (see Fed. R. Civ. P.
           9(b)) shall also be set forth in the pre- trial
           order;

       g.   If special damages are sought, they shall be itemized
            with particularity. (See Fed. R. Civ. P. 9(g));

       h.   If a conspiracy is charged, the details of facts
            constituting the conspiracy shall be particularized.

9.     A single listing of the contested issues of law. (See
       explanation in 8 above.)

10.    A list and description of the exhibits that each party
       intends to introduce at the trial. Prior to the confec-
       tion of the proposed pre-trial order, the parties shall
       meet, exchange copies of all exhibits, and make a good
       faith effort to agree as to their authenticity and
       relevancy. As to any exhibits to which the parties cannot
       agree, memoranda shall be electronically filed on or
       before five working days prior to trial. Unless otherwise
       ordered by the Court, only exhibits included on the
       exhibit list and/or for which memoranda have been
       submitted shall be included for use at trial.

      a. Each list of exhibits first should describe those that
         are to be admitted without objection, and then those to
         which there will be objection, noting by whom the
         objection is made (if there are multiple adverse
         parties), and the nature of the objection.
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       b.    If a party considers he has good cause not to disclose
             exhibits to be used solely for the purpose of
             impeachment, he shall ex parte request a conference
             with the Court and make his position known to the
             Court in camera.

       c.    Where appropriate to preserve trade secrets or
             privileges, the listing of exhibits may be made
             subject to a protective order or in such other
             fashion as the Court may direct. If there are such
             exhibits, the proposed pre-trial order will state:
             "The parties will discuss exhibits alleged to be
             privileged (or to contain trade secrets, etc.) at
             the pre-trial conference."

       d.    Counsel shall deliver to the Court a bench book of
             tabbed exhibits five working days before the start
             of the trial.

       e.    Each counsel shall bring to Court, on the day of
             trial a final list of exhibits, properly marked for
             identification, which he or she desires to use at
             trial. This list shall be submitted to the case
             manager at the outset of the trial.

       f.    In addition, each counsel shall also bring to Court
             on the day of trial a set of the exhibits, properly
             marked for identification, which counsel intends to
             offer into evidence. Alternatively, the courtroom is
             equipped with an Electronic Evidence Presentation
             Podium which contains a document camera (ELMO), VGA
             and HDMI inputs for multiple laptop computers, and a
             data projector, all of which may be used to display
             exhibits. The courtroom is also equipped with a large
             pull-down screen. Counsel may make annotations on the
             display screen at the podium and the witness may
             also make annotations at the witness stand. Counsel
             are instructed to contact the Case Manager at 504-
             589-7747 to schedule a brief training session on the
             use of this equipment during the week immediately
             prior to trial.
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11.   A list of all deposition testimony that each party
      intends to offer into evidence at trial; furthermore:

      a.   The parties shall, prior to trial, meet and agree as
           to the elimination of all irrelevant and repetitive
           matter and all colloquy between counsel. In addition,
           the parties shall, in good faith, attempt to resolve
           all objections to testimony so that the Court will be
           required to rule only on those objections to which they
           cannot reach an agreement as to their merit. As to all
           objections to the testimony which cannot be amicably
           resolved, unless otherwise ordered by the Court, the
           parties shall electronically file, not less than
           three days prior to trial, a statement identifying
           the portions objected to and the grounds therefor.
           Proponents and opponents shall furnish the Court
           appropriate statements of authorities in support
           of their positions as to the proposed testimony.

      b.   In non-jury trials, the parties shall, at least five
           days prior to trial, deliver to the Court those portions
           of the depositions they intend to introduce into
           evidence. Any objections to the proposed deposition
           testimony should be handled in the form and fashion
           described above.

12.   A list and brief description of any charts, graphs,
      models, schematic diagrams, and similar objects which,
      although not to be offered in evidence, respective
      counsel intend to use in opening statements or closing
      arguments.


13.   a.   A list of witnesses for all parties, including the
           names, addresses, and statement of the general
           subject matter of their testimony (it is not suffi-
           cient to designate the witness simply "fact,"
           "medical," or "expert"), and an indication in good
           faith of those who will be called in the absence of
           reasonable notice to opposing counsel to the con-
           trary;

      b.   A statement that the witness lists were filed in
           accordance with the Federal Rules of Civil Procedure
           and prior court orders. No other witnesses shall be
           allowed unless agreeable to all parties and their
           addition does not affect the trial date. This
           restriction will not apply to rebuttal witnesses or

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           documents whose necessity cannot be reasonably
           anticipated. Furthermore, in the case of expert
           witnesses, counsel shall certify that they have
           exchanged expert reports in accordance with the Federal
           Rules of Civil Procedure and prior court orders. Expert
           witnesses whose reports have not been furnished to
           opposing counsel shall not be permitted to testify nor
           shall experts be permitted to testify to opinions not
           included in the reports timely furnished;

      c.   Except for good cause shown, the Court will not permit
           any witness to testify unless with respect to such
           witness there has been complete compliance with all
           provisions of the pre-trial order and prior court
           orders;

      d.   Counsel shall not be allowed to ask questions on
           cross-examination of an economic expert which would
           require the witness to make mathematical calcula-
           tions in order to frame a response unless the
           factual elements of such questions shall have been
           submitted to that expert witness not less than
           three full working days before trial.

14.   A statement indicating whether the case is a jury or non-jury
      case.

      a.   If the case is a jury case, then indicate whether the
           jury trial is applicable to all aspects of the case or
           only to certain issues, which issues shall be
           specified. In jury cases, add the following provisions:

            "Proposed    jury    instructions,     special    jury
           interrogatories, trial memoranda, and any special
           questions that the Court is asked to put to prospective
           jurors on voir dire shall be electronically filed
           with the Court not later than five working days
           prior to the trial date, unless specific leave to
           the contrary is granted by the Court."

      b.   In a non-jury case, suggested findings of fact and
           conclusions of law and a separate trial memorandum are
           required, unless the Court enters an order that such is
           not required. Same are to be electronically filed
           not less than five full working days prior to trial.


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      c.   In a jury case, a trial memorandum shall be required
           only when and to the extent ordered by the Court.
           However, any party may in any event file such memoranda
           not less than five working days prior to trial and
           should accomplish this with respect to any anticipated
           evidentiary problems which require briefing and jury
           instructions   requiring    explanation   beyond   mere
           citation to authority.

15.   In cases where damages are sought, include a statement
      that: "The issue of liability (will or will not) be tried
      separately from that of quantum." It is the policy of this
      Court in appropriate cases to try issues of liability and
      quantum separately. Accordingly, counsel should be
      prepared to discuss at the pre-trial conference the
      feasibility of separating such issues. Counsel likewise
      should consider the feasibility and desirability of
      separate trials as to other issues.

16.   A statement describing any other           matters   that might
      expedite a disposition of the case.

17.   A statement that trial shall commence on [month/day] ,
      _[year] at a.m./p.m. and a realistic estimate of the number
      of trial days required. Where counsel cannot agree upon
      the number of trial days required, the estimate of each
      side should be given.

18.   The statement that "This pre-trial order has been
      formulated after conference at which counsel for the
      respective parties have appeared in person. Reasonable
      opportunity has been afforded counsel for corrections, or
      additions, prior to signing. Hereafter, this order will
      control the course of the trial and may not be amended
      except by consent of the parties and the Court, or by order
      of the Court to prevent manifest injustice."

19.   The statement that "Possibility of settlement of this case
      was considered."

20.   The proposed pre-trial order must contain appropriate
      signature spaces for counsel for all parties.

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     IT IS FURTHER ORDERED that the foregoing pre-trial
notice be e-mailed to counsel of record for all parties to
this case, and that counsel will comply with the directions
set forth herein.

New Orleans, Louisiana




                                    UNITED STATES DISTRICT JUDGE


        EACH NUMBERED PARAGRAPH IS TO BE PRECEDED
         BY A HEADING DESCRIPTIVE OF ITS CONTENT




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